 Fill in this information to identify the case:

 Debtor 1              Sarah E. Lewis
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Middle DistrictDistrict of __________
                                                          of Pennsylvania

 Case number            1:23-00550-HWV
                        ___________________________________________




2IILFLDO)RUP 410S1
Notice of Mortgage Payment Change                                                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   TH MSR Holdings LLC
 Name of creditor: _______________________________________                                                        4
                                                                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                           0 ____
                                                         ____ 3 ____
                                                                  0 ____
                                                                      1              Must be at least 21 days after date       12/01/2024
                                                                                                                               _____________
                                                                                     of this notice


                                                                                     New total payment:                              1,285.14
                                                                                                                               $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
      ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
      
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                    514.16
                   Current escrow payment: $ _______________                       New escrow payment:                   513.01
                                                                                                               $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      ✔ No
      
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:         _______________%                 New interest rate:          _______________%

                   Current principal and interest payment: $ _______________       New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      ✔ No
      
       Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                             page 1

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Debtor 1         Sarah    E. Lewis
                 _______________________________________________________                                           1:23-00550-HWV
                                                                                               Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

      I am the creditor.
     ✔ I am the creditor’s authorized agent.
     


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 8/s/ Sherri J. Smith
     _____________________________________________________________
     Signature
                                                                                               Date    11/07/2024
                                                                                                       ___________________




 Print:             Sherri J. Smith
                    _________________________________________________________                  Title   Attorney  for Creditor
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company            Pincus Law Group, PLLC
                    _________________________________________________________



 Address            Five Greentree Centre, 525 Route 73 N, Ste 309
                    _________________________________________________________
                    Number                 Street

                    Marlton                          NJ      08053
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      516-699-8902
                    ________________________                                                   Email VVPLWK#SLQFXVODZFRP




Official Form 410S1                                                   Notice of Mortgage Payment Change                                           page 2

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                                                                                                                           Escrow Analysis Statement
                                                                                                                            Analysis Date 10/23/2024
P.O. Box 19409
Charlotte, NC 28219-9409
Important Escrow Information
                                                                                           YOUR ACCOUNT INFORMATION
                                                                                  Loan Number:
                                                                                  Unpaid Principal Balance:                                        $171,580.43
                                                                                  Interest Rate:                                                      4.1250%
                                                                                  Current Payment Amount:                                            $1,286.29
 + 0885524 000000091 9RPE1 945246 001
                                                                                  Principal & Interest:                                                $772.13
 SARAH E LEWIS                                                                    Escrow:                                                               $514.16
 594 YALE ST                                                                      Additional Monthly Amounts*                                            $0.00
 HARRISBURG PA 17111-3558
                 New Payment Amount:                                                $1,285.14
                                                                                  Principal & Interest:                                                $772.13
                                                                                  Escrow:                                                               $513.01
                                                                                  Additional Monthly Amounts*                                            $0.00
                                                                                  New Payment Effective Date:                                      12/01/2024
                                                                                 *Additional Monthly Amounts – This accounts for optional products, including, but not
                                                                                 limited to: TotalProtect, SystemsProtect and ApplianceProtect home service plans, and
                                                                                 ACE Disaster Mortgage Protection insurance.


Dear SARAH E LEWIS,
Please see the important information below regarding your Escrow Account on the above referenced account.
                                                         Important Bankruptcy Information
This statement is for information only. We are not trying to collect a debt against you personally. Our records
indicate that you recently filed for bankruptcy or you are already having a discharge. Although your legal duty to
repay the loan may be discharged, we still have a lien on the property and the right to foreclose on the property if
the loan is in default.
Please be advised that this is not an attempt to collect any pre-petition escrow advances, which have been
previously included in the subject mortgagee's Proof of Claim and were approved to be paid through the Bankruptcy
Plan. The escrow account overage above is based off of the assumption that all escrow contractual payments were
made current. If the escrow payments were not made current the overage shown above is not accurate and will not
be disbursed.
What is an Escrow Account?
Each month, a part of your monthly mortgage payment is deposited into your Escrow Account. We use this money to
pay your Scheduled Disbursements for Taxes, Hazard Insurance, and/or Mortgage Insurance as they come due
throughout the year. The amount we collect from you and deposit in your Escrow Account each month is 1/12 of the
annual Scheduled Disbursements, plus any minimum balance requirement, sometimes called a 'cushion'.
For your property at 594 YALE ST, HARRISBURG, PA 17111, the cushion is equal to 2 months of the escrow payment.



                             TABLE 1 - DISBURSEMENTS ON YOUR BEHALF IN THE UPCOMING YEAR
 Payee Name                                                          Amount
 STATE FARM GEN INS CO                                               $1,559.00
 SWATARA TOWNSHIP                                                    $1,832.81
 SWATARA TWPTAX COLLECTO                                             $2,764.37
 Total Scheduled Disbursements                                       $6,156.18



What is an Escrow Account Surplus?
A surplus means you have more money in your escrow account than needed to fully pay your Scheduled
Disbursements. An Escrow Account Surplus is typically caused by changes in your taxes or insurance premiums.
What are the results of my Annual Escrow Account Analysis?
We've completed the analysis of your Escrow Account based on the activity for the period Jan 2024 - Nov 2024
(Table 2) and our analysis indicates your escrow account has an Escrow Surplus in the amount of $19.34.
The Unpaid Principal Balance (UPB) of your loan as of your last analysis on Jan 2024 was $171,943.21. The UPB of
your loan as of this analysis is $171,580.43. Your UPB changed by $362.78.
The mortgage payments include a collection for escrowed items. The mortgage payments for this account are past
due. The amounts billed and due dates for each mortgage payment prior to the date of this statement have not
changed. In order to estimate the escrow account balance, this Escrow Analysis statement projects the escrow




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account balance as if all the past due payments have been paid. Once we receive all the past due escrow payments,
we expect an overage may exist in the escrow account. Because the account is past due, that overage has not been
disbursed in conjunction with this Escrow Analysis statement. If the loan becomes current and a subsequent Escrow
Analysis is performed, then any overage that exists at that time will be released to you.
Our commitment at RoundPoint is to help each of our customers reach the best resolution for their unique
circumstances. Please call us at 877-426-8805. Representatives are available Monday through Friday from 8:00 a.m.
until 9:00 p.m. and Saturday from 10:00 a.m. until 3:00 p.m. Eastern Time to discuss options that may suit you.


                                 TABLE 2 - ACTUAL ESCROW ACCOUNT HISTORY
The table below reflects what actually happened in your escrow account since your last analysis compared to what
we expected would happen.

                                                  Payments                           Disbursements
                                                                                                                  Expected        Actual
     Month        Description              Expected              Actual          Expected             Actual       Balance        Balance
                                                         Starting Balance $-3,550.66
  January-24      Hazard Ins               $514.22          $0.00     *          $1,549.00 *          $1,559.00   $-4,585.44     $-5,109.66
 February-24      Deposit                  $514.22          $514.16 *                $0.00                $0.00    $-4,071.22    $-4,595.50
   March-24       City/vill Ta             $514.22          $0.00     *          $1,832.81            $1,832.81   $-5,389.81     $-6,428.31
   April-24       Deposit                  $514.22          $0.00     *              $0.00                $0.00   $-4,875.59     $-6,428.31
    May-24        Deposit                  $514.22          $0.00     *              $0.00                $0.00    $-4,361.37    $-6,428.31
   June-24        Deposit                  $514.22          $0.00     *              $0.00                $0.00   $-3,847.15     $-6,428.31
    July-24       Deposit                  $514.22          $514.16 *                $0.00                $0.00   $-3,332.93     $-5,914.15
  August-24       School Tax               $514.22          $0.00     *          $2,788.91 *          $2,764.37   $-5,607.62     $-8,678.52
 September-24     Deposit                  $514.22          $0.00     *              $0.00                $0.00   $-5,093.40     $-8,678.52
  October-24 E    Deposit                  $514.22          $8,227.16 *              $0.00                $0.00   $-4,579.18       $-451.36
 November-24 E    Deposit                  $514.22          $514.22                  $0.00                $0.00   $-4,064.96         $62.86
                                        $5,656.42           $9,769.70            $6,170.72            $6,156.18   $-4,064.96        $62.86


An asterisk (*) indicates a difference between the expected and actual payments and disbursements.

The letter E indicates the payment or disbursement is expected to occur as shown. Any increase to the upcoming expected
payment is the total of your past due escrow payments. The expected activity over the next 12 months, as shown in Table 3, is
presented as if the increased expected payment is made. This explains the difference in the ending Actual Balance in Table 2 to
the Starting Balance in Table 3.
                                      TOTAL DISBURSEMENTS FROM ESCROW ACCOUNT

  Taxes*                                                 $4,597.18
  Insurance*                                             $1,559.00
  Mortgage Insurance*                                    $0.00
  Other Charges*                                         $0.00

  *Indicates the total amount you have paid out of your escrow account for over the last 12 months.




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               TABLE 3 - EXPECTED ESCROW ACTIVITY OVER THE NEXT 12 MONTHS
The table below shows a month by month activity we expect will occur in your escrow account over the next 12
months. This shows the estimated low balance point that is used to calculate an escrow shortage or surplus.
                                                               Expected       Expected       Expected     Minimum
      Month-Year                   Description                                                                         Difference
                                                               Payment      Disbursement      Balance     Required
                                                      Starting Balance $62.86
     December-24      Deposit                                     $513.01           $0.00      $575.87    $1,026.02      $-450.15
      January-25      Hazard Insurance Disbursement               $513.01       $1,559.00      $-470.12   $1,026.02     $-1,496.14
      February-25     Deposit                                     $513.01           $0.00        $42.89   $1,026.02       $-983.13
       March-25       City Tax Disbursement                       $513.01        $1,832.81   $-1,276.91   $1,026.02    $-2,302.93
        April-25      Deposit                                     $513.01           $0.00     $-763.90    $1,026.02    $-1,789.92
        May-25        Deposit                                     $513.01           $0.00     $-250.89    $1,026.02     $-1,276.91
        June-25       Deposit                                     $513.01           $0.00      $262.12    $1,026.02      $-763.90
        July-25       Deposit                                     $513.01           $0.00       $775.13   $1,026.02      $-250.89
       August-25      School Tax Disbursement                     $513.01       $2,764.37    $-1,476.23   $1,026.02    $-2,502.25
     September-25     Deposit                                     $513.01           $0.00     $-963.22    $1,026.02    $-1,989.24
      October-25      Deposit                                     $513.01           $0.00     $-450.21    $1,026.02     $-1,476.23
     November-25      Deposit                                     $513.01           $0.00       $62.80    $1,026.02      $-963.22

We expect that during the next 12 months, we will make the total of $6,156.18 disbursements from your account. As shown in the
highlighted portion in Table 3, your lowest estimated balance is $-1,476.23. Your required minimum balance is $1,026.02. This
means that you have a Surplus in the amount of $19.34.

Note: Due to the past-due status of the mortgage, this projected surplus has not been disbursed.




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                    IF YOUR LOAN INCLUDES PRIVATE MORTGAGE INSURANCE (PMI)
                            PLEASE READ THIS IMPORTANT INFORMATION
Private Mortgage Insurance: Your mortgage loan requires private mortgage insurance ("PMI"). PMI protects lenders and
others against financial loss when borrowers default. Charges for the insurance are added to your loan payments. Under
certain circumstances, federal law gives you the right to cancel PMI or requires that PMI automatically terminate. Private
mortgage insurance may, under certain circumstances, be canceled by the mortgagor (with consent of the mortgagee or in
accordance with applicable state law). Cancellation or termination of PMI does not affect any obligation you may have to
maintain other types of insurance.

Borrower Requested Cancellation of PMI: Under the Homeowners Protection Act of 1998, if your loan closed on or after
July 29, 1999 as a single-family primary residence, you have the right to request that PMI be cancelled on or after either of
these dates: (1) the date the principal balance of your loan is first scheduled to reach 80% of the original value of the
property or (2) the date the principal balance actually reaches 80% of the original value of the property. PMI will only be
cancelled on these dates if (1) you submit a written request for cancellation: (2) you have a good payment history: and (3) we
receive, if requested and at your expense, evidence that the value of the property has not declined below its original value
and certification that there are no subordinate liens on the property. A "good payment history" means no payments 60 or
more days past due within two years and no payments 30 or more days past due within one year of the cancellation date.
"Original value" means the lesser of the contract sales price of the property or the appraised value of the property at the
time the loan was closed. Automatic Termination of PMI: Under the Homeowners Protection Act of 1998, if your loan closed
on or after July 29, 1999 as a single-family primary residence and if you are current on your loan payments, PMI will
automatically terminate on the date the principal balance of your loan is first scheduled to reach 78% of the original value of
the property. If you are not current on your loan payments as of that date, PMI will automatically terminate when you
thereafter become current on your payments. In any event, PMI will not be required on your mortgage loan beyond the date
that is the midpoint of the amortization period for the loan if you are current on your payments on that date.
If your loan closed before July 29, 1999 or if it is not a single-family primary residence or second home: The conditions for
cancelling mortgage insurance for mortgages closed before July 29,1999 are not statutory under federal law, they may be
changed at the lender’s discretion (unless otherwise required by state law).
If you have any questions or concerns: Please call us at 877-426-8805 to speak with one of our friendly customer service
representatives. Written requests for cancellation can be sent to PO Box 19049, Charlotte NC 28219-9409.
To provide us with a Notice of Error about the servicing of your loan, or make a Request for Information about the servicing
of your loan, please write to us at:
RoundPoint Mortgage Servicing LLC
P.O. Box 19789
Charlotte, NC 28219-9409
Federal law requires us to advise you that RoundPoint Mortgage Servicing LLC (NMLS ID# 18188) is a debt collector and
that this is an attempt to collect a debt. Any information obtained may be used for that purpose. To the extent your
obligation has been discharged or is subject to the automatic stay in a bankruptcy proceeding, this notice is for
informational purposes only and does not constitute a demand for payment or an attempt to collect indebtedness as your
personal obligation. If you are represented by an attorney, please provide us with the attorney’s name, address, and
telephone number.
NOTICE TO CUSTOMERS: RoundPoint Mortgage Servicing LLC may report information about your mortgage account to
credit bureaus. Late payments, missed payments, or other defaults on your account may be reflected in your credit report.

FOR SUCCESSORS IN INTEREST: Confirmed successors in interest to borrowers named on the Note are not liable for
repayment of the debt of the original named borrower unless and until the successor assumes the loan obligation pursuant
to applicable law.




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                  IN THE UNITED STATES BANKRUPTCY COURT
                    MIDDLE DISTRICT OF PENNSYLVANIA

In Re:                                    : Bankruptcy No. 1:23-00500-HWV
Sarah E. Lewis aka Sarah Evelyn Lewis     : Chapter 13
aka Sarah Lewis                           :
                  Debtor                  :
                                          :
                                          :
TH MSR Holdings LLC                       :
Fka Matrix Financial Services Corporation :
c/o RoundPoint Mortgage Servicing LLC :
                                          :
                  Movant                  :
             vs.                          :
Sarah E. Lewis aka Sarah Evelyn Lewis     :
aka Sarah Lewis                           :
                      Debtor and          :
                                          :
                                          :
Jack N Zaharopoulos                       :
       Trustee/Respondent                 :


                               CERTIFICATION OF SERVICE

       I, Sherri J. Smith, Esquire, certify that a copy of TH MSR Holdings LLC fka Matrix
Financial Services Corporation c/o RoundPoint Mortgage Servicing LLC’s Notice of Mortgage
Payment Change was served upon the following parties on November 7, 2024:
Tullio DeLuca, Esquire
Via ECF
Debtor Attorney
Jack N Zaharopoulos, Esquire
Via ECF
Trustee




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Sarah E. Lewis
594 Yale Street
Harrisburg, PA 17111
Via First Class Mail
Debtor

                                          Respectfully submitted,
Dated: November 7, 2024                   PINCUS LAW GROUP, PLLC
                                    By:    /s/ Sherri J. Smith
                                          Sherri J. Smith, Esquire
                                          Five Greentree Centre
                                          525 Route 73 North, Suite 309
                                          Marlton, NJ 08053
                                          Telephone: 516-699-8902
                                          Fax: 516-279-6990
                                          Email: ssmith@pincuslaw.com




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